Case 2:11-cr-00347-KJD-MDC   Document 623    Filed 12/19/17   Page 1 of 1

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 1                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEVADA
 2

 3   UNITED STATES OF AMERICA,       )      Case No. 2:11-cr-347-KJD-CWH
                  Plaintiffs,        )
 4   v.                              )             ORDER TEMPORARILY
     HENRI WETSELAAR, M.D.,          )         UNSEALING AUDIO RECORDING
 5                Defendant.         )

 6            Mario Valencia, Esq., filed a Designation of Transcripts

 7 (Doc. 567).    Docket No. 175 (Motion Hearing, 10/7/2015) contains a

 8 sealed portion of the proceedings.         The transcript is to be

 9 prepared by Felicia Zabin, Transcriber.

10            IT IS THE ORDER OF THE COURT that the sealed audio

11 recording shall be unsealed for the limited purpose of preparing

12 the transcript by Felicia Zabin and providing a copy of the

13 transcript to Mario Valencia, Esq., as requested.

14            IT IS FURTHER ORDERED that the audio recording shall

15 thereafter be resealed and a certified copy of the transcript be

16 delivered to the Clerk pursuant to 28 U.S.C. § 753(b) and remain

17 sealed until further order of this Court.

18            IT IS FURTHER ORDERED that the receiving party shall not

19 disclose the sealed contents of the transcript of the proceeding

20 to anyone other than the representatives of the parties directly

21 concerned with this case.

22            DATED this     19   day of December      , 2017.

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24                                       KENT J. DAWSON
                                         United States District Judge
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